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Roseland, NJ | New York, NY | Buffalo, NY | Philadelphia, PA | Ft. Lauderdale, FL | Tampa, FL

June 4, 2019

VIA ECF ONLY

Honorable Arlene R. Lindsay, U.S.M.J
United States District Court

Eastern District of New York

100 Federal Plaza

Central Islip, New York 11722

Re: Sgt. Jameson Warren v. Castella Imports, et al.
Civil Action No.: 2:18-cv-04740-JFB-ARL
Our File No.: STS-003

Dear Judge Lindsay:

This office represents the defendants in the above referenced matter. I am writing in
response to the frivolous letter filed by plaintiff's counsel, which was electronically filed with the
Court today at 12:48 p.m.

Plaintiff's counsel called this office today at approximately 12:05 p.m. seeking to speak
with Mitchell Ayes, Esq. or Christopher Del Bove, Esq., as they are the assigned attorneys to the
defense of this matter in this office. However, as advised to Mr. Morris, neither Mr. Ayes nor Mr.
Del Bove were present in the office at the time of his call. Mr. Morris demanded to speak with an
attorney in the office and as such, the call was transferred to me. IJ am a Senior Associate in this
office and advised Mr. Morris that Mr. Ayes is out of the office on business and that it was my
understanding that Mr. Del Bove was preparing his witness for his deposition tomorrow in this
matter. Mr. Morris stated that he needed to confirm the deposition with the Court Reporter and
threatened to file an application with the Court. I advised counsel that this office would provide
him with a response within an hour.

At 12:44 p.m. I called plaintiff's office and left him a voicemail advising that the deposition
of defendant, Robert Roberts, was confirmed for tomorrow at 120A Wilshire Blvd, Brentwood,
New York, at 12:00 p.m. In my voicemail, I asked counsel to return my call. Rather than return
my call, Mr. Morris filed his letter with the Court at 12:48 p.m. Upon receipt of plaintiff's letter,
I called plaintiff’s counsel three times at his office leaving a voicemail, and twice on his cell phone
also leaving a voicemail. As of the filing of this letter, counsel has yet to return any of my calls.

Further, as per plaintiff's letter, he seeks to commence the deposition at 9:30 a.m.
tomorrow. Our client is unavailable at that time, as he has a divorce proceeding in State Court

 

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before Hon. Debra Poulos, 400 Carleton Ave, Central Islip, New York, scheduled to begin at 9:30
a.m.

Given that I personally confirmed the deposition for tomorrow, before plaintiff even filed
his letter with the Court, it is respectfully requested that the Court deny plaintiff's letter in its
entirety. Moreover, as plaintiff filed his letter after the confirmation of the deposition, counsel’s
letter is frivolous, and we are requesting that cost and fees be awarded to defendants for having to
respond to a frivolous letter.

Respectfully submitted,

AC Me

JOHAN A. OBREGON

  

JAO/jm
ce: Cory H. Morris, Esq.
